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' _ IAL PANEL ONMULTIDISTRICTLITIGATION

INRE VIOXXPRODUCTS LIABILITYLITIGATION
(SEE ATTACHED SCHEDULE)
CONDITIONAL TRANSFER ORDER (CTO-9)

On February 16, 2005, the Panel transferred 138 civil actions to the United States District Coui't for the
Eastern District of Louisiana for coordinated or consolidated pretrial proceedings pursuant to 28 U.S.C.
§ 1407. Since that time, 350 additional actions have been transferred to the Eastern District of

Louisiana. With the consent of that eourt, all such actions have been assigned to the Honorable Eldon E.
Fallon.

It appears that the actions on this conditional transfer order involve questions of fact Which are common
to the actions previously transferred to the Eastern District of Loiiisiana and assigned to Judge Fallon.

Pursuant to Rule 7.4 of the Rules of Procedure of the Judicial Panel on Multidistrict Litigation, 199
F.R.D. 425, 435-36 (2001), these actions are transferred under 28 U.S.C. § 1407 to the Eastern District

of Louisiana for the reasons stated in the order of February 16, 2005, F.Supp.Zd (J.P.M.L.
2005), and, with the consent of that court, assigned to the I-Ionorable Eldon E. Fallon.

This order does not become effective until it is filed in the Office of the Clerk of the United States
District Court for the Eastern District of Louisiana. The transmittal of this order to said Clerk shall be
stayed fifteen (15) days from the entry thereof and if any party flies a notice of opposition with the Clerk
of the Panel within this fifteen (15) day period, the stay will be continued until further order of the Panel.

FOR THE PANEL:

W Q.@M.L_

Michael J. §eck

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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inasmuch as no objection is CLERK 8 OFFICE
pending at this time. the A TRUE COPY
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" Case 1:05-cv-01095-.]DT-STA Document 13 Filed 06/13/05 Page 2 0t4 Page|D 6
UNITED STATES DISTRICT CoUR'r

EASTF,RN DISTRICT or LoUisiANA
OFFICE oF TnE CLERK

LoRRETTA G. WHYTE 500 PoYDRAs ST., SUITE C-151
CLERK NEW ORLEANS, LA 70130

June 3, 2005

Robert Di Trolio, Clerk
United States District Court
Western District of Tennessee
167 N. Main St., Room 242
Memphis, TN 3 8103

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In Re: MDL 1657 Vioxx Products Liability Litigation L (3)

 

Dear Mr. Trolio:

Enclosed are certified copies of a transfer order received from the Multidistrict Litigation Panel
in Washington, D.C. It instructs that the cases listed on the attached page be transferred to our district
for disposition pursuant to Title 28 USC 1407, as soon as possible. Our office has assigned new civil
action numbers to these cases as referenced on the attached page.

DO NOT FORWARD THE ORIGINAL RECORD. The Honorable Eldon E. Fallon, U.S.
District Court Judge issued an order directing that the transfer of records consist of only a certified
copy of the complaint (including notice of removal, if applicable), any amendments, the docket sheet
and the MDL Transfer Order, together With a copy of the transfer letter be forwarded to the transferor
court.

Due to the high volume of cases involved in this litigation please provide paper copies of

the above documents instead of simply referring to your Website. Your prompt attention in this
matter is greatly appreciated

Should you have any questions regarding this request, please contact Dina Guilbeau at
(504)589-7704.

Very truly yours,

Loretta G. y , Clerk
By Z,

deuty Clerk

Enclosures
cc: Judicial Pane] on Multidistrict Litigation

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Case 1:05-cv-01095-.]DT-STA Document 13 Filed 06/13/05 Page 3 of 4 Page|D 7

Your Case Nos. Case Title Our Case Nos.
1105-1083 Charles R. Dailey, Sr., et al v. Merck & Co., Inc. 05-2054 L (3)
I 105-1084 Gerald D. Riley, et al v. Merck & Co., Inc., et al 05-2055 L (3)

        

   

1105-1095 Shirley F. Sanders v. Merck & Co., Inc., et al 05-2057 L (3)

 

     

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Notice of Distribution

This notice confirms a copy of the document docketed as number 13 in
case 1:05-CV-01095 Was distributed by faX, mail, or direct printing on
June 16, 2005 to the parties listed.

 

 

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Honorable J ames Todd
US DISTRICT COURT

